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lN THE UNITED STATES DlSTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

ln re COPPER TUBING LITIGATION

 

l\/laster File No. 04-277l-DV
This Doculnent Relates To:

District Judge Bernice B. Donald
All Actions Magistrate Judge Diane K. Vescovo

P:EBIIIOSE-D ORDER GRANTING AGREED MOTION OF DEFENDANTS
MUELLER EUROPE LTD., BOLIDEN AB, BOLIDEN FABRICATION AB,
IMI, PLC,'IMI KYNOCH LTD., YORKSHIRE COPPER TUBE LTD.,
TREFIMETAUX SA, EUROPA METALLI SPA, OUTOKUMPU OYJ
AND OUTOKUMPU COPPER PRODUCTS OY FOR ADDITIONAL TIME
lN WHICH TO ANSWER, MOVE., OR OTHERWISE RESPOND
Thc Court having considered the Agreed l\/lotion of Defendants Mueller Europe Ltd.,
Boliden AB, Boliden Fabrication AB, IMI PLC, IMl Kynoch Ltd., Yorkshire Copper Tube Ltd.,
Tréiimétaux SA, Europa Metalli SPA, Outokurnpu OYJ and Outokumpu Copper Produets OY
(collectively, “Moving Defendants”) for Additional Time in Which`to Answer, Move, or
Otherwise Respond to the consolidated amended class action complaint and the memorandum in
Support thereof and finding them to be well taken,
lT IS HEREBY ORDERED THAT the Agreed Motion of Moving Defendants for

an extension of time through and including June 28, 2005 in which to answer, move, or

otherwise respond is hereby granted, with the Moving Defendants having reserved all rights and

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-5*‘1'*`1!!§ 58 and/or 79(3) FHCP en w -\\

 

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defenses, including without limitation all rights and defenses relating to personal jurisdiction

mae % ZLW

Judg€

and/or service of the Complaint.

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ENTERED THISOZZ day of 7%”$? , 2005

case 2:04-CV-02771

 

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 83 in

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May 25, 2005 to the parties listed

 

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Honorable Bernice Donald
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